
On order of the Chief Justice, the motion to waive fees is considered and it is DENIED because MCL 600.2963 requires that a prisoner pursuing a civil action be liable for filing fees. The filing fees include a $375.00 entry fee and a $25.00 fee for commencing an original action, MCL 600.1986, for a total of $400.00.
Within 21 days of the date of this order, plaintiff shall pay to the Clerk of the Court the initial partial filing fee of $16.00; submit a copy of this order; and refile the copy of the pleadings returned with this order. Failure to comply with this order shall result in the complaint not being filed in this Court.
If plaintiff timely files the partial fee and refiles the pleadings, monthly payments shall be made to the Department of Corrections in the amount of 50 percent of the deposits made to plaintiff's account until the payments equal the balance due of $384.00. This amount shall then be remitted to this Court.
Pursuant to MCL 600.2963(8) plaintiff shall not file a new civil action or appeal in this Court until the entry fee in this case is paid in full.
The Clerk of the Court shall furnish two copies of this order to plaintiff and return a copy of plaintiff's pleadings with this order.
